Case 2:10-md-02179-CJB-DPC Document 8963-66 Filed 03/20/13 Page 1 of 3




                   Exhibit 19M
  Case 2:10-md-02179-CJB-DPC Document 8963-66 Filed 03/20/13 Page 2 of 3


From:             Michael Juneau
To:               mark.holstein@bp.com; keith.moskowitz@snrdenton.com; jimr@wrightroy.com; Steve Herman
Cc:               Christine Reitano; Patrick Juneau
Subject:          RE: Request for Parties" Positions - NO LATER THAN 12:00 NOON, SEPTEMBER 28, 2012
Date:             Tuesday, September 25, 2012 2:11:27 PM
Attachments:      image001.png
Importance:       High




Counselors:

Please provide the Claims Administrator’s office (copies to all of the above) with your respective
interpretations of the Settlement Agreement, providing citations to any specific language in the
Settlement Agreement that you contend addresses the following issue:

As to BEL claims, once a claimant’s financial records satisfy the causation standards set out in
Exhibit 4B, does the Settlement Agreement mandate and/or allow the Claims Administrator to
separate out losses attributable to the oil spill vs. those that are not? Stated another way, once
a claimant passes the causation threshold, is the claimant entitled to recovery of all losses as per
the formula set out in Exhibit 4C, or is some consideration to be given so as to exclude those
losses clearly unrelated to the spill?

I will give a hypothetical situations to try to illustrate the question we are asking:

Hypo: A small accounting corporation / firm is located in Zone B. They meet the “V-shaped curve”
causation test. The explanation for the drop in revenue is that one of the three partners went out
on medical leave right around the time of the spill. Their work output, and corresponding income,
thus went down by about a third. The income went back up 6 months later when the missing
partner returned from medical leave. Applying the compensation formula under Exhibit 4C of the
Settlement Agreement, the accounting firm can calculate a fairly substantial loss. Is that full loss
recoverable?

Please submit any position paper you wish to present on this issue no later than 12:00 noon, central
time, Friday, September 28, 2012. Given the ongoing efforts to process the program’s claims as
expeditiously as possible in light of certain impending court deadlines, we are not in a position to
consider any position statements submitted after that deadline. Thank you.




935 Gravier Street, Ste. 1905
New Orleans, LA 70112
mjuneau@dheclaims.com
 Case 2:10-md-02179-CJB-DPC Document 8963-66 Filed 03/20/13 Page 3 of 3




This email (and any attachments) is confidential and is intended for use solely by the
properly named addressee. If you are not the intended recipient, any use, dissemination,
forwarding, copying or printing of this email without the consent of the originator is strictly
prohibited. Although this email (and any attachments) are believed to be free of any virus or
other defect, it is the responsibility of the recipient to ensure that it is virus free, and no
responsibility is accepted by the sender for any loss or damage arising in any way from its
use. If you have received this email in error, please immediately notify the sender by reply
email or by telephone at 504-934-4999.


This email (and any attachments) is confidential and is intended for use solely by the
properly named addressee. If you are not the intended recipient, any use,
dissemination, forwarding, copying or printing of this email without the consent of
the originator is strictly prohibited. Although this email (and any attachments) are
believed to be free of any virus or other defect, it is the responsibility of the
recipient to ensure that it is virus free, and no responsibility is accepted by the
sender for any loss or damage arising in any way from its use. If you have received
this email in error, please immediately notify the sender by reply email or by
telephone at 504-934-4999.
